Case 9:11-cr-80205-KAM Document 531 Entered on FLSD Docket 05/31/2018 Page 1 of 2



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO.: 11-80205-CR-MARRA

  UNITED STATES OF AMERICA

                         Plaintiff,

  vs.

  MITCHELL STEIN,

                    Defendant.
  ________________________________ /


                     WRIT OF HABEAS CORPUS AD PROSEQUENDUM


  TO: ANY UNITED STATES MARSHAL, AND
      WARDEN,


         It appearing that the defendant in the above case, Mitchell J. Stein, #62053-112 is confined

  at FCI Miami, 15801 SW 137th Avenue, Miami, FL 33177, and this case is set for a Resentencing

  Hearing as to said defendant at the United States District Courthouse, 701 Clematis Street, West

  Palm Beach, Florida on July 19 and 20, 2018 at 9:00 a.m. and that it is necessary for said

  defendant to be before the Court for said proceeding.

         NOW, therefore, this is to command you, any United States Marshal, to have the body of

  the said Mitchell J. Stein, #62053-112 , detained in custody as aforesaid, under safe and secure

  conduct, before this Court at 70l Clematis Street, West Palm Beach, Florida by July 19, 2018 and

  upon completion of said proceeding that you return subject with all convenient speed, under safe and

  secure conduct to the custody of the Warden of the aforesaid penal institution.

         And this to command you, the Warden of the FCI Miami, to deliver into the custody of any
Case 9:11-cr-80205-KAM Document 531 Entered on FLSD Docket 05/31/2018 Page 2 of 2



  United States Marshal, upon production to you of a certified copy of this writ, the body of the said

  defendant for safe and secure conduct to this district for the purpose aforesaid.

         DONE AND ORDERED at West Palm Beach, Florida this 30th day of May, 2018.




                                                        KENNETH A. MARRA
                                                        UNITED STATES DISTRICT JUDGE

  cc:    All counsel
         US Marshal (3 Certified Copies)
  WRIT
